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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              United States of America v. Anthony T. Williams


      JUDGE:       Leslie E. Kobayashi          DATE:             12/10/2019

COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S “PRIVATE
ATTORNEY GENERAL ANTHONY WILLIAMS EX PARTE REQUEST FOR
TRANSPORT OF INCARCERATED PARTY”

        On November 22, 2019, pro se Defendant Anthony T. Williams (“Defendant”)
filed a document titled “Private Attorney General Anthony Williams Ex Parte Request for
Transport of Incarcerated Party” (“Motion”). [Dkt. no. 651.] The Court finds that: the
Motion is suitable for disposition without a hearing pursuant to Local Rule 7.1(c); and it
is not necessary for Plaintiff the United States of America (“the Government”) to file a
response to the Motion.

       The Motion seeks an order compelling Defendant’s transport from the Federal
Detention Center - Honolulu (“FDC Honolulu”) to the office of his stand-by counsel, Lars
Issacson, Esq., “at least twice a week,” so that Defendant can make unmonitored
telephone calls with the witnesses he intends to call at trial. [Motion, Decl. of Counsel,
Exh. A at 3 of 4.]

                    The Sixth Amendment requires that an incarcerated pro se
             defendant be given “reasonable access to ‘. . . witnesses . . . to
             prepare a defense.’” United States v. Sarno, 73 F.3d 1470, 1491 (9th
             Cir. 1995), quoting Milton v. Morris, 767 F.2d 1443, 1446 (9th Cir.
             1985). “The right of access is not unlimited, but must be balanced
             against the legitimate security needs or resource constraints of the
             prison.” Id. In imposing restrictions on this access, the government
             “may not unreasonably hinder the defendant’s efforts to prepare his
             own defense.” Milton, 767 F.2d at 1446–47.

United States v. Brugnara, 856 F.3d 1198, 1210 (9th Cir.), cert. denied, 138 S. Ct. 409
(2017).

      Defendant has made no showing that he is unable to contact his potential witnesses
through traditional means of communication, such as making telephone calls and sending
email messages from FDC Honolulu, or having potential witnesses who are on Oahu meet
with Defendant during FDC Honolulu’s standard visiting hours. Nor has Defendant
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shown that his communications with these potential witnesses are protected by any
privilege. Further, Defendant has obtained subpoenas for numerous witnesses, indicating
that Defendant has not been unreasonably hindered in the preparation of his defense.
While Defendant may prefer to contact his potential witnesses from his stand-by
counsel’s office, the law only requires that Defendant be given reasonable access to
witnesses. Because Defendant has not established a denial of reasonable access, the
Motion is DENIED.

      The denial is WITHOUT PREJUDICE to the filing of a new motion, if warranted
by changed circumstances.

      IT IS SO ORDERED.


Submitted by: Agalelei Elkington, Courtroom Manager
